Case 2:05-cv-04182-SRD-JCW Document 9337-2 Filed 12/04/07 Page 1of4

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

NEW ORLEANS DIVISION
IN RE: KATRINA CANAL BREACHES * CIVIL ACTION
LITIGATION * 05-4182
* MAGISTRATE 2
* SECTION “K”
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PERTAINS TO: 07-4944 *
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MEMORANDUM IN SUPPORT OF MOTION TO DISMISS

MAY IT PLEASE THE COURT:
I. FACTUAL BACKGROUND

The above captioned litigation arises from damages allegedly sustained to
plaintiffs’ property as a result of Hurricane Katrina. Plaintiffs filed suit against a number
of defendants allegedly responsible for the levee failures following Katrina, including the
Southeast Louisiana Flood Protection Authority East (“SLFPA”). According to
plaintiffs’ Petition for Damages, SLFPA is the successor-in-interest to both the Board of
Commissioners of the Lake Borgne Levee District as well as Board of Commissioners of
the Orleans Levee District. As such, plaintiffs contend SLFPA is liable to it far damages

allegedly sustained as the result of levee breaches.
Case 2:05-cv-04182-SRD-JCW Document 9337-2 Filed 12/04/07 Page 2 of 4

il. LAW AND ARGUMENT

The purpose of a Motion to Dismiss pursuant to Federal Rules of Civil Procedure
Rule 12(b)(6) is to test the sufficiency of the complaint not to judge the merits of the
case.' The complaint must be liberally construed in favor of the Plaintiff, and all the facts
pleaded in the complaint must be taken as true to determine whether the Plaintiff has any
valid claim for relief.’ Dismissal is appropriate if it appears beyond a doubt that the
plaintiff can prove no set of facts that would entitle him to relief.? However, courts do
not have to accept legal conclusions, unsupported conclusions, unwarranted references or
sweeping legal conclusions cast in the form of factual allegations.’
Plaintiff fails to state a cause of action against SLFPA

As noted above, plaintiffs contend that SLFPA is liable in connection with
damages to plaintiff's property resulting from floodwaters allegedly originating from
various levee breaches and/or overtopping.

On January 1, 2007 the SLFPA was established as a levee district pursuant to
Louisiana Revised Statute 38:330.1 assuming the authority of a number of levee districts,

including the Orleans Levee District and the Lake Borgne Levee District. Louisiana

! First Nat’l Bank of Louisville v. Lustig, 809 F.Supp. 444 (E.D. La. 1992).
2 Brown v. Nations Bank Corp., 188 F.3d 579, 586 5" Cir. 1999).

; U.S. Ex Rel. Thompson v. Columbia HCA/Healthcare Corp., 125 F.3d 899, 901
(5™ Cir. 1997).

In Re Mastercard Intern. Inc., Internet Gambling Litigation, 132 F.Supp.2d 468,
476 (E.D. La. 2001), aff'd, 313 F.3d 257 (5™ Cir. 2002).

Case 2:05-cv-04182-SRD-JCW Document 9337-2 Filed 12/04/07 Page 3 of 4

Revised Statute 38:330.3(A)(1)(a) addresses the transfer of authority as well as
obligations to SLFPA, and states in pertinent part:

(1)(a) Any legal proceeding to which the East Jefferson

Levee District, Lake Borgne Basin Levee District, Orleans

Levee District, or West Jefferson Levee District is a party

and which is filed, initiated, or pending before any court on

January 1, 2007, and all documents involved in or affected

by said legal proceeding, shall retain its effectiveness and

shall be continued in the name of the district. Other than the

district or districts originally named as party to the

proceedings, neither an authority or district within the

territorial jurisdiction of the authority shall have any

liability for actions pending or claims arising prior to the

effective date of this Section.”
The starting point for the interpretation of any statute is the language of the statute itself.
In re Succession of Boyter, 1999-0761 (La.1/7/00) 756 So.2d 1122. The meaning and
intent of the law is determined by placing a construction on the provision in question that
is consistent with the express terms of the law and with the obvious intent of the
legislature in enacting it. Jd. The language of the statute addressed above clearly
indicates that SLFPA is not liable for any claims which arose prior to January 1, 2007, or
the date of its inception. As plaintiffs’ claim arises from events which occurred in 2005, it
has failed to state a claim upon which relief can be granted against SLFPA.
Accordingly, plaintiffs’ claims against SLFPA should be dismissed.

WI. CONCLUSION
WHEREFORE, for the foregoing reasons, Defendant, SLFPA, respectfully

submits that the plaintiffs’ claims must be dismissed for failure to state a claim upon

which relief may be granted pursuant to Federal Rule of Civil Procedure Rule 12(b)(6).

> La. RS. 38:330.3.
Case 2:05-cv-04182-SRD-JCW Document 9337-2 Filed 12/04/07 Page 4 of 4

Respectfully submitted

DUPLASS, ZWAIN, BOURGEOIS, MORTON,
PFISTER & WEINSTOCK

S/Jennifer M. Morris

LAWRENCE J. DUPLASS #5199

ANDREW D. WEINSTOCK #18495

JENNIFER M. MORRIS #29936

3838 North Causeway Boulevard, Suite 2900

Metairie, Louisiana 70002

Telephone: (504) 832-3700

Facsimile: (504) 837-3119

Counsel for Defendant, Southeast Louisiana Flood
Protection Authority East

CERTIFICATE OF SERVICE

I hereby certify that on the 4" day of December, 2007, a copy of the foregoing
Southeast Louisiana Flood Protection Authority East was filed electronically with the
Clerk of Court using the CM/ECF system. Notice of this filing has been forwarded to all
known counsel of record by operation of the court’s electronic filing system or by
depositing a copy in the United States mail, properly addressed and postage prepaid.

S/Jennifer M. Morris

JENNIFER M. MORRIS (#29936)

